
Pratt, J.
—The decision of this case turns upon the question whether Baisley was at the time of eviction a tenant of the defendant company. The court below has found as a fact that he was such tenant and there is evidence sufficient to support the finding.
There being no validity in the proceedings to dispossess Baisley, and he being a tenant, the eviction was without justification, and any person injured thereby could maintain an action; she charges that defendant, without any right, came to her house and drove her out doors, whereby she became sick. These facts make out a cause of action.
We have examined the other exceptions in the case, but find no error sufficient to warrant a reversal of the judgment.
Judgment affirmed, with costs.
Barnard, P. J., and Dykman, J., concur.
